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                                                                                           FEB 26 2025
                     IN THE UNITED STATES DISTRICT COURT FOR TIHE
                              EASTERN DISTRICT OF VIRGINIA                         CLERIC U.S. UlSTRKT ^URT
                                                                                                   VTRGTNIA—


                                        Alexandria Division

 UNITED STATES OF AMERICA
                                                         Criminal No. l:25-CR-44
                V.

                                                         18 U.S.C. § 842(p)(2)(A) (distribution of
 ABDULLAH EZZELDIN TAHA MOHAMED                          information relating to explosives,
 HASSAN,                                                 destructive devices, and weapons of mass
                                                         destruction)
         Defendant.


                                          INDICTMENT


                          February 2025 Term - at Alexandria, Virginia

       THE GRAND JURY CHARGES THAT:

       Between on or about November 23,2024,through on or about December 17,2024,in Falls

Church, Virginia, in the Eastern District of Virginia, and elsewhere, the defendant, ABDULLAH

EZZELDIN TAHA MOHAMED HASSAN, did loiowingly distribute information pertaining to,

in whole or in part, the manufacture and use of an explosive, destructive device, and weapon of
mass destruction, with the intent that the information be used for, and in lurtherance of, an activity
that constitutes a Federal crime of violence, to wit, a violation of 18 U.S.C. §§ 1116(a),
1116(b)(4)(B), 1111 (first-degree murder ofinternationally protected persons).

       (In violation of Title 18, United States Code, Sections 842(p)(2)(A) and 844(a)(2).)

                                                  A TRUE BILL
                                                     Pursuant to the E-Government Act,,
                                                    The original of this page has been filed
                                                        under seal in the Clerk's Office    •
                                                  FOREPERSON
       Erik S. Siebert
       United States Attorney

By:
       Gavin R. Tisdale
       Sehar F. Sabir
       Assistant United States Attorneys
